             Case 4:22-cv-05118-YGR       Document 12       Filed 12/05/22   Page 1 of 3




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2 MICHELLE LO (NYBN 4325163)
   Chief, Civil Division
 3
   EMMET P. ONG (NYBN 4581369)
 4 Assistant United States Attorney

 5           1301 Clay Street, Suite 340S
             Oakland, California 94612-5217
 6           Telephone: (510) 637-3929
             Facsimile: (510) 637-3724
 7
             E-mail: emmet.ong@usdoj.gov
 8
   Attorneys for Defendant
 9 NATIONAL INSTITUTES OF HEALTH

10
                                   UNITED STATES DISTRICT COURT
11
                                 NORTHERN DISTRICT OF CALIFORNIA
12
                                              OAKLAND DIVISION
13

14   KRISTIN LAVELLE,                                 )   Civil Action No. 4:22-cv-05118-YGR
                                                      )
15           Plaintiff,                               )
                                                      )
16      v.                                            )   JOINT CASE MANAGEMENT STATEMENT
                                                      )   AND [PROPOSED] ORDER TO CONTINUE
17   NATIONAL INSTITUTE OF HEALTH,                    )   INITIAL CASE MANAGEMENT
                                                      )   CONFERENCE
18                                                    )
             Defendant.
                                                      )
19                                                    )
20

21

22

23

24

25

26

27

28

     JT. CASE MGMT. STMT. AND [PROPOSED] ORDER TO CONTINUE INITIAL CMC
     NO. 4:22-CV-05118-YGR
            Case 4:22-cv-05118-YGR           Document 12        Filed 12/05/22      Page 2 of 3




 1          Pursuant to the Court’s order dated September 13, 2022, Dkt. No. 8, the parties provide the

 2 following joint case management statement in this action brought under the Freedom of Information

 3 Act.

 4          The parties have reached an agreement-in-principle to resolve this matter. In light of the

 5 foregoing, and to give the parties additional time to complete the steps necessary to finalize their

 6 agreement, the parties respectfully submit that it would be most efficient use of judicial and party

 7 resources to continue the initial case management conference and all attendant deadlines. To that end,

 8 the parties jointly request that the initial case management conference scheduled for December 12, 2022

 9 be continued to January 16, 2023. This is the parties’ first request to continue the initial case

10 management conference.

11          IT IS SO STIPULATED.

12

13 DATED: December 5, 2022                                Respectfully submitted,

14                                                        WATERS, KRAUS & PAUL

15                                                        s/ Michael Connett (by permission)
                                                          MICHAEL CONNETT
16

17                                                        Attorneys for Plaintiff Kristin Lavelle

18 DATED: December 5, 2022                                Respectfully submitted,
19                                                        STEPHANIE M. HINDS
                                                          United States Attorney
20
                                                          s/ Emmet P. Ong*
21
                                                          EMMET P. ONG
22                                                        Assistant United States Attorney

23                                                        Attorneys for Defendant National Institutes of
                                                          Health
24

25                                                        *In compliance with Civil Local Rule 5-1(h)(3), the
26                                                        filer of this document attests under penalty of
                                                          perjury that concurrence in the filing of the
27                                                        document has been obtained from the other
                                                          Signatory
28

     JT. CASE MGMT. STMT. AND [PROPOSED] ORDER TO CONTINUE INITIAL CMC
     NO. 4:22-CV-05118-YGR                        1
           Case 4:22-cv-05118-YGR         Document 12       Filed 12/05/22    Page 3 of 3




 1                                         [PROPOSED] ORDER

 2         Pursuant to stipulation of the parties, IT IS SO ORDERED. The initial case management

 3 conference presently scheduled for December 12, 2022 is continued to January 16, 2023. The parties

 4 shall file a joint case management statement by January 9, 2023.

 5

 6 DATED:__________________

 7
                                                        HON. YVONNE GONZALEZ ROGERS
 8                                                           United States District Judge
 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

     JT. CASE MGMT. STMT. AND [PROPOSED] ORDER TO CONTINUE INITIAL CMC
     NO. 4:22-CV-05118-YGR                        2
